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rN rHE UNrrED srArEs DISTRICT CouRr “l‘-=‘WD' k _,
FOR THE iveerer DrsrRlcr or TENNESSEE t_ n /7@»
WESTERN DrvisIoN 03 J¥y/< ma 9= ; 3

BRENDA SHOEMAKE, individually and as
next of kin of LECRETIA E. DOAK, an
incapacitated person,

 

Plaintir"`f,
v. No. 04-2835
KINDRED NURSING CENTERS LIMITED
PARTNERSHIP d/b/a CORDOVA
REHABILITATION AND NURSTNG
CENTER, et al.,

Defendants.

 

ORDER REMANDING CASE TO STATE COURT

 

Plainliff, Brenda Shoernal<e, individually and as next of kin ot` Lecretia E. Doal<, an
incapacitated person, initiated this action in Shelby County, Tennessee Circuit Court (No. CT-
005212-04-Div. l) against the Defendants, Kindred Healthcare Services, Inc., Kindred Healthcare
Operating, lnc. (hereinat`ter collectively referred to as “Kindred"), Kindred Nursing Centers Limited
Partnership doing business as Cordova Rehabilitation and Nursing Center (hereinafter “Cordova
Center”), and Cordova Center’s administrators The Defendants later removed the action to this
Court asserting that diversity jurisdiction existed despite the fact that, on the face of the complaint,
it appeared deficient _S_§e_ 28 U.S.C. § 1332. On November 15, 2004, Shoemake filed a motion to
remand the case to state court based on the lack of complete diversity. As the Defendants have

responded to the motion, it is novv appropriate for disposition

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FACTS AND PROCEDURAL BACKGROUND

Doak was admitted in June 2003 as a resident to Cordova Center, a nursing home facility
owned by Kindred_ (Am. Compl. 11 5, attached to Notice ofRemoval Pursuant to 28 U.S.C. § 1446
(hereinafter “Am. Compl.”).) Plaintiff brings this lawsuit for damages based on negligence
regarding the care given to Doak at Cordova Center by its employees and administrators (Am.
Compl. 115.) Speciiically, Plaintiffalleges that the Defendants are liable for medical expenses, pain
and suffering, mental anguish, disability and humiliation under the Tennessee common law and
pursuant to the Tennessee Nursing Home Residents Rights Act, Tenn. Code Ann. § 68-1 1-9(11 e_t
§§ Tennessee Medical Malpractice Act, Tenn. Code Ann. § 29-26-1 15 e_t sgi_g Tennessee Adult
Protection Act, Tenn. Code Ann. § 71-6-101 _et Li_.; and various Rules of the Tennessee State Board
of Examiners for Nursing Home Administrators.

Shoemake amended her original complaint in state court to add nursing home administrators,
Neicie J. McKinion, F rank D. Lamier, and J ames W. Freeman.l Several of these Defendants as well
as the Plaintifi` are residents of the State of Tennessee_ (Notice of Removal Pursuant to 28 U.S.C .
§ 1446 at 2.) However, Kindred Healthcare Services, lnc. and Kindred Healthcare Operating, lnc.
are Delaware corporations With their principal places of business located in Kentucky. (1\1 otice ol`
Removal Pursuant to 28 U.S.C. § 1446 at 2.) Kindred Nursing Centers Limited Partnership is a
Delaware limited partnership with its principal place of business in Kentucky and does not have any
partners that are residents of Tennessee. (Notice of Removal Pursuant to 28 U.S.C. § 1446 at 2.)

ln their removal of Plaintift’ s lawsuit to this Court, Defendants argue that the administrators were

 

l One of the administrators, Katherine A. Berry, also known as Katherine A. Bennett, was
named in the initial complaint as Well as the amended complaint

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wrongfully and fraudulently j oined for the purpose of depriving the nonresident Defendants of their
right to have this case litigated in federal court. After the removal, Plaintiff filed a motion to
remand, asserting that the administrative Defendants were liable for their owns acts and omissions
and, therefore, were not fraudulently joined
LEGAL STANDARD

A case initially filed in state court may be removed to federal court pursuant to 28 U.S.C.
§§ 1441 and 1446. “[A]ny civil action brought in a State court of which the district courts of the
United States have original jurisdiction, may be removed by the defendant or the defendants, to the
district court.” 28 U.S.C. § 1441(a). However, when federal questionjurisdiction is lacking, a case
may be removed “only if none of the parties in interest properly joined and served as defendants is
a citizen ofthe State in Which such action is brought.” 28 U.S.C. § 1441 (a) and (b). l-lere, based on
the face of the amended complaint, diversity of citizenship is lacking because several of the
Defendants are citizens ofTennessee, precluding removal under 28 U.S.C. § 1441 (b). Nonetheless,
Kindred argues that the joinder of the administrator Defendants Was undertaken solely in an attempt
to avoid removal

The Sixth Circuit has recognized that “fraudulentjoinder ofnon-diverse defendants will not
defeat removal on diversity grounds.” Covnev. Am. Tobacco Co., 183 F.3d 488, 493 (6th Cir. 1999)
(citation omitted). However, the party removing the case must establish that the joinder was a '
subterfuge Alexander v. Elec. Data Svs. Corp.1 13 F.3d 940, 949 (6th Cir. 1994). To prove
fraudulent joinder, “the removing party must present sufficient evidence that a plaintiff could not
have established a cause of action against non-diverse defendants under state law.” Q_QM, 183 F.3d

at 493 (citing Alexander, 13 F.3d at 949). “There can be no fraudulent joinder unless it be clear that

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there can be no recovery under the law of the state on the cause alleged or on the facts in view of the
law.” Alexander, 13 F.3d at 949 (quoting Bobbv lones Garden Apartments, Inc. v. Suleski, 391 F.2d
172, 176 (5th Cir. 1968)). lf there is “arguably a reasonable basis for predicting that the state law
might impose liability on the facts involved,” then remand is appropriate l_d_.; s_e_e a_ls& Q_oj/Le, 183
F.3d at 493 (stating that a “colorable basis for predicting that a plaintiff may recover against non-
diverse defendants” requires remand); .lerome-Duncan` lnc. v. Auto-Bv~Tel. L.L.C., 176 F.3d 904,
907 (6th Cir. 1999) (“the inquiry is whether [plaintift] had at least a colorable cause ofaction against
[the defendant]”). “[A]ny disputed questions and facts and ambiguities in the controlling state law
[should be resolved] . , . in favor of the nonremoving party.” Alexander, 13 F.3d at 949 (citations
omitted; alterations and emphasis added in the origina|). “All doubts as to the propriety of removal
are resolved in favor of remand.” QQB, 183 F.3d at 493. A plaintiffs motive in joining non-
diverse defendants is immaterial to the determination of whether joinder was fraudulent §

lerome-Duncan Inc., 176 F.3d at 907 (citation omitted). Because the Plaintiff has alleged that the

 

non-diverse Defendants are liable under Tennessee law, the Court must look to the law of that state
to determine whether the individual Defendants were fraudulently joined S_ee § (applying
Michigan state law to ascertain Whether the defendant was properly joined).
ANALYSIS

ln seeking to recover against the non-diverse administrators, Plaintiff argues that
administrators of nursing homes, unlike managers in other businesses, are responsible under
Tennessee common and statutory law for all functions of the nursing home including staffing,
training, supervision, and protection of residents According to Shoemake, the administrators herein

violated their duties by failing to supervise, train, and evaluate the staff, maintain records, and

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provide a sufficient number of aides to meet the total needs of the residents

The Defendants submit that Plaintiff is seeking to impose vicarious liability on the
administrators under Tennessee common law.2 (Resp. Mot. Remand at 3-4.) They point to the
decision of Brown & Sons Lumber Co. v. Sessler, 163 S.W. 812, 813-14(Tenn. 1913), in which the
Tennessee Supreme Court held that an “intermediate superior employe[e can be held responsible]
only if his personal negligence, in an immediate act or command, was the efficient cause or a
coefficient cause ofthe injury.” Similarly, in Parl<er v. Vanderbilt Universitv. 767 S.W.2d 412, 416
(Tenn. Ct. App. 1998), the Tennessee Court of Appeals held that a hospital’s Chief of
Anesthesiology could not be held vicariously liable for the negligent acts of a nurse who incorrectly
performed a medical procedure on a patient in the doctor’ s absence, without his oversight, and where
the complaint did not allege that the physician committed any acts of negligence himself The
Defendants maintain that the facts of M and this case are on all fours (Resp. l\/lot. Remand at
5.) Like _PM~, the Defendants submit that the amended complaint “rnakes no allegations of direct
participation bythe administrators in the negligent or tortious conduct of subordinates.” (Resp. Mot.
Remand at 6.)

The Court finds that the Defendants’ arguments are unpersuasive A review of the amended
complaint reveals that the Plaintiff does allege direct negligence on the part of the administrators
The amended pleading states that the “administrators” and “managerial agents” themselves failed

to appropriately supervise, train, and evaluate the nursing staff, and hire sufficient nursing staff to

 

2 Defendants also argue that the non-diverse Defendants have not been served with
process and therefore should not be considered for purposes of determining whether diversity
jurisdiction exists However, as the Plaintiff has now accomplished service on all but one of
these Defendants, Kindred’s argument is moot.

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adequately meet Doak’s needs (_SE Am. Compl. 11 23.) These allegations of administrator
misfeasance is in addition to acts of negligence committed by the employees which the
administrators supervised Unlike Me;, where the court found the complaint contained no claims
of negligent acts by the doctor himself, the Plaintiff in this case has asserted such conduct directly
by the administrators

Defendants also argue that the Plaintiff is attempting to base her recovery on violations of
Tennessee statutes and regulations governing nursing home administrators According to the
Defendants, no private right of action exists under these state provisions However, the Court finds
that Shoemake is merely asserting that these statutes establish a standard and duty of care for nursing
home administrators as opposed to creating a private right of action. Specifically, Plaintiff claims
that the Defendants have violated Doak’s rights under provisions of Tenn. Code Ann. § 68-1 1-

901(15), (16), (21), and (24). These subsections provide that “[e]very nursing home resident/patient

has . . . rights . . . (15) [t]o be suitably dressed . . . and to be given assistanoe, when needed in
dressing, grooming and maintaining body hygiene,” “(16) [f]or the family . . . to be notilied
immediately of any accident, sudden illness, disease, . . . or anything unusual,” “(21) [t]o be free

from willful abuse or neglect,” and “(24) [t]o be treated with consideration, respect and full
recognition of the resident’s dignity and individuality.”

Nevertheless, the Defendants contend that these are merely licensing statutes and should not
be used to establish a claim of negligence per se. ln Tennessee, “‘[i]t is well settled that a failure to
perform a statutory duty is negligence per se, and, if the injury is the proximate result or consequence
of the negligent act, there is liability. ”’ White v. Smith, No. E2004-02467-COA-R3-CV, 2005 WL

1183151, at *5 (Tenn. Ct. App. May 19, 2005) (quoting Wise v. Morgan, 48 S.W. 971, 972 (Tenn.

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1898)). In order to impose liability based on the failure to comply with a statute or regulation, “‘the
person suing must be such a person as is within the protection of the law and intended to be
[benefitted] thereby.”’ §§ at *6 (quoting Carter v. Redmond, 218 S.W. 217, 218 (Tenn. 1920)).
Although the Defendants claim that these enactments do not offer protection to nursing home
residents a plain reading of the provisions reflect that they provide specific “rights” to patients

Defendants point to numerous factors for the Court to consider in determining whether the
violation ofa statute or regulation is negligence per se. However, the Court need not decide that
issue since the Plaintiff must only present an arguably “reasonable basis for predicting that the state
law might impose liability on the facts involved.” § Alexander, 13 F.3d at 949. l\/foreover, the
question of whether violations of these statutes and regulations can be used by a plaintiff in asserting
a negligence per se claim is more appropriately left for the state court to decide. This Court merely
concludes that Shoemake has presented a “colorable basis for predicting that a plainti ff may recover
against [the} non-diverse defendants” based on common law negligence and negligence per se. w
Q_oyri_e, 183 F.3d at 493.

The Court has not found any reported Tennessee cases, nor have the parties cited to any, that
address whether a nursing home administrator owes its residents a duty of care. All “ambiguities
in the controlling state law [should be resolved] . . . in favor of the nonremoving party_” Alexander,
13 F.3d at 949 (citations omitted; alterations and emphasis added in original). Consequently, the
Court concludes that the Defendants have failed to establish fraudulent joinder and that Plaintiff has
presented a reasonable basis for recovery based on the allegations in the amended complaint

Two other judges of this district have reached similar conclusions tn Barkley v. Kindred

Healthcare lnc., No. 04-1344-T/An (W.D. Tenn. Apr. 18, 2005), Chief .ludge James D. Todd

 

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remanded a case to state court, finding that the plaintiff there had alleged sufficient facts, almost
identical to this case, to present a colorable basis for predicting recovery against a non-diverse
defendant. Judge Todd concluded that the complaint contained allegations of personal negligence
of the administrator in his failure to adequately supervise, train, and evaluate the nursing staff to
ensure proper care for the residents My, No. 04-1344-T/An, at 4. Likewise, Judge Bernice B.
Donald found that remand was appropriate in Petties v. Kindred Healthcare. lnc., No. 04-2996-DA
(W.D. Tenn. Apr. 25, 2005), based on similar facts as the instant case.
CONCLUSlON

For the reasons articulated herein, Plaintiff s motion is GRANTED and this case is hereby
REMANDED to the Circuit Court of Shelby County, Tennessee. The Clerl< of Court is directed to
prepare a judgment accordingly The Court also notes that several of the Defendants have filed
motions to dismiss The determination of these motions will be deferred to the state court for
resolution

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['l` IS SO ORDERED thisz_l. da

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Notice of Distribution

This notice confirms a copy of the document docketed as number 74 in
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Darrell E. Baker

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

l\/lemphis7 TN 38138

F. Laurens Brock

CHAl\/[BLISS BAHNER & STOPHEL
Two Union Square

1000 Tallan Bldg.

Chattanooga, TN 37402

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

Deborah Whitt

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

l\/lemphis7 TN 38138

Brian Reddick

WILKES & MCHUGH, P.A.
425 West Capitol Avenue
Ste. 3500

Little Rock7 AR 72201

Daryl .1. Brand

CHAl\/[BLISS BAHNER & STOPHEL
Two Union Square

1000 Tallen Bldg.

Chattanooga, TN 37402

Case 2:04-cv-02835-.]DB-dkv Document 74 Filed 06/01/05 Page 10 of 10 Page|D 67

William Lee l\/laddux

CHAl\/[BLISS BAHNER & STOPHEL
Two Union Square

1000 Tallen Bldg.

Chattanooga, TN 37402

Cameron C. Jehl

WILKES & McHUGH- Little Rock
425 West Capitol Ave.

Ste. 3500

Little Rock7 AR 72201

Honorable .1. Breen
US DISTRICT COURT

